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                         UNITED STATES DISTRICT COURT
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               CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
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12   JOVANY RODRIGO RANGEL,            ) Case No. CV 20-00251-AS
                                       )
13                     Petitioner,     )         JUDGMENT
                                       )
14                                     )
          v.                           )
15                                     )
     W.L. MONTGOMERY,                  )
16                                     )
                       Respondent.     )
17                                     )
18        Pursuant to the Order Granting Motion to Dismiss,
19
20        IT IS ADJUDGED that the Petition is denied and dismissed
21   with prejudice.
22
23        DATED: May 8, 2020
24
25                                                   /s/
                                                  ALKA SAGAR
26                                      UNITED STATES MAGISTRATE JUDGE
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